            Case:19-18459-MER Doc#:5 Filed:09/30/19                                          Entered:09/30/19 16:19:45 Page1 of 1

                                                               United States Bankruptcy Court
                                                                          District of Colorado
 In re      Frictionless World, LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Dan Banjo                                                                            100%                                       Member
 2807 Jay Road
 Boulder, CO 80301


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date September 30, 2019                                                     Signature /s/ Daniel Banjo
                                                                                            Daniel Banjo

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
